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                                   U.S. DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO:

 LORI MARIE DIAZ,

        Plaintiff,

 vs.

 CARNIVAL CORPORATION d/b/a
 CARNIVAL CRUISE LINES, a Foreign
 Corporation,

        Defendant

                                           /

             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

        Plaintiff, LORI MARIE DIAZ, by and through undersigned counsel, hereby sues the

 Defendant, CARNIVAL CORPORATION d/b/a CARNIVAL CRUISE LINES, a Foreign

 Corporation, and alleges as follows:

        1.      This is an action for damages that exceeds this Court’s minimum jurisdictional

 requirements, to wit, $75,000.00, exclusive of all interest and costs.

        2.      This Court has jurisdiction over this matter pursuant to 28 USC § 1333(1) and 28

 USC § 1332 (a)(1).

        3.      Venue in the United States District Court for Southern District of Florida is

 appropriate pursuant to the forum selection clause contained in the passenger ticket between

 Plaintiff and Defendant.

        4.      At all times material, Plaintiff, LORI MARIE DIAZ, is and was a resident of

 and domiciled in the State of California, now living in Long Beach, California, and at all times

 material was a passenger onboard defendant’s vessel, the “INSPIRATION.”

        5.      At all times material, Defendants, CARNIVAL CORPORATION d/b/a

 CARNIVAL CRUISE LINES, a Foreign Corporation, personally or through an agent:
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               A. Operated, conducted, engaged and/or carried on a business venture in the
                  State of Florida, and in particular Miami-Dade County, Florida;

               B. Were engaged in substantial business activity in the State of Florida, and
                  in particular, in Miami-Dade County, Florida;

               C. Operated vessels and provided vessels for cruises in the waters of this
                  state;

               D. Committed one or more acts as set forth in F.S. §48,081, 48.181 and
                  48.193, which submit the defendant to the jurisdiction and venue of this
                  Court. Further, this court has jurisdiction of this action under 28 U.S.C.
                  §1333(1);

               E. The acts of defendants set out in the Complaint occurred in whole or in
                  part in Miami-Dade County and/or the State of Florida.

         6.       All conditions precedent to the institution of this action have been satisfied, or

  otherwise excused, including the pre-suit notice required by the terms and conditions of

  Defendant’s cruise ticket.

                                     COUNT I - NEGLIGENCE

         7.       On or about May 6, 20141, Defendant owned and operated a passenger cruise ship

  known as the “INSPIRATION.”

         8.       At such time and place, Plaintiff, LORI MARIE DIAZ, was lawfully and legally

  aboard said vessel as an invitee and paying passenger with the actual and/or constructive consent

  of Defendant.

         9.       On May 6, 2015, while on board the Inspiration, which was operating in

  navigable waters, the Plaintiff, LORI MARIE DIAZ, was seriously injured when she slipped

  and fell on a wet deck as she was walking on the Lafayette area.

         10.      At all times material hereto Defendant, CARNIVAL CORPORATION d/b/a

  CARNIVAL CRUISE LINES, a Foreign Corporation, owed a duty to Plaintiff and other

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   The Statute of Limitations has been extended by agreement between the parties until
  01/04/16.
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  similarly situated passengers to exercise reasonable care under the circumstances.

         11.      Defendant, CARNIVAL CORPORATION d/b/a CARNIVAL CRUISE

  LINES, a Foreign Corporation, breached its duty owed to Plaintiff by committing one or more

  of the following acts or omissions:

               A. Failing to exercise reasonable care for the safety of its passengers in
                  creating a dangerous condition on the food and beverages service areas of
                  the Lido Deck of the Carnival Inspiration;

               B. Failing to properly maintain the food and beverage deck surfaces and
                  walkways on the Lido Deck in a reasonably safe condition;

               C. Failing to inspect the food and beverage deck and walking surfaces of the
                  Lido Deck in a sufficient manner to determine the presence of foreign,
                  transitory substances;

               D. Failing to provide a reasonable walkway and deck surface on its vessel,
                  reasonably fit for use by its passengers;

               E. Failing to warn passengers, including Plaintiff of the deck surfaces crew
                  had or was in the process of mopping, creating a dangerous condition
                  without providing warnings to passengers including Plaintiff;

               F. Negligently establishing and enforcing a method of operation on the Lido
                  Deck for cleaning inspection and maintenance of the food and beverage
                  service deck surface where Plaintiff fell;

               G. Allowing a dangerous condition to exist notwithstanding prior
                  substantially similar injury incidents on the food and beverage services
                  areas of the Lido Deck on this and other vessels in its fleet and this class,
                  on the same deck surfaces, including the area where Plaintiff fell, with
                  sufficient frequency to both provide notice and create a pattern of conduct
                  which demands remedy;

               H. Failing to train crew members in the assessment, inspection, discovery,
                  and cleaning of foreign, transitory substances in the food and beverage
                  services areas of the Lido Deck with sufficient efficiency to avoid or
                  minimize regularly wet deck surfaces and to promptly and without
                  reasonable delay place warning signs, cones and other available warnings
                  for the safety of passengers including Plaintiff, Lori Marie Diaz.

               I. Failing to comply with its own internal policies and procedures established
                  by Carnivals own Safety Management Systems Manual (SMS) and by the
                  ISM Code, and other internal operational procedures required by the ISM
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                  Code, SOLAS, all applicable health, building and safety codes and
                  ordinances in accordance with 33 CFR 96.100 et. seq., 46 USC Section
                  3201 et. seq. and all Rules and Regulations, including, but not limited to
                  all relevant standards NVIC’s of the United States Coast Guard, and The
                  International Maritime Organization.

          12.     As a direct and proximate result of Defendant’s negligence and above referenced

  breaches of duty, Plaintiff, LORI MARIE DIAZ, suffered bodily injuries and resulting pain and

  suffering, physical and mental pain and anguish, disability, loss of capacity for the enjoyment of

  life, expense of hospitalization, surgery and medications, loss of earnings in the past, loss and/or

  impairment of the ability to earn money, expenses for physical and occupational therapy, and

  medical and nursing expenses. Said losses are either permanent or continuing in nature and

  Plaintiff will suffer these losses into the future.

          WHEREFORE, Plaintiff, LORI MARIE DIAZ, demands judgment, interest and costs

  against Defendant, CARNIVAL CORPORATION d/b/a CARNIVAL CRUISE LINES, a

  trial by jury and any such other relief to which the Plaintiff may be justly entitled.

          Dated: January 04, 2016

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                                                  BY:    /s/ Glenn J. Holzberg______
                                                         GLENN J. HOLZBERG
                                                         Fla. Bar # 369551
